  Case 19-34685      Doc 15    Filed 03/05/20 Entered 03/05/20 13:52:00         Desc Main
                                 Document     Page 1 of 3


                     IN THE UNITED STATE BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re:                                            )      Chapter 7
         ASHLEY KNOWLES,                          )
                                                  )      Case No: 19-34685
               Debtor.                            )
                                                  )      Hon. Carol A. Doyle

                                  NOTICE OF MOTION

To:      via ECF:     David M. Siegel, davidsiegelbk@gmail.com
                      Ira Bodenstein, iratrustee@foxrothschild.com
                      Patrick S Layng,USTPRegion11.ES.ECF@usdoj.gov

         via USPS:    Ashley Knowles, 3806 W. Washington Blvd., #D1, Chicago, IL 60624

       Please take notice that on March 18, 2020 at 10:00 a.m., the undersigned shall appear
before the Honorable Timothy A. Barnes in Courtroom 742, United Bankruptcy Court, 219 S.
Dearborn, Chicago, Illinois, and present the ILLINOIS DEPARTMENT OF HUMAN
SERVICE’S MOTION TO EXTEND TIME TO FILE OBJECTION TO
DISCHARGEABILITY OF A DEBT UNDER § 523, a copy of which is attached and served on
you.

                                                  Illinois Department of Human Services

                                                  By:    /s/ Anna Stanley Kahriman
                                                         Anna Stanley Kahriman
                                                         Assistant Attorney General
                                                         100 W. Randolph Street, 13-204
                                                         Chicago, IL 60601
                                                         (312) 814-6140


                              CERTIFICATE OF SERVICE

       I, Anna Stanley Kahriman, an attorney, hereby certify that on March 5, 2020, I caused a
copy of this NOTICE OF MOTION and ILLINOIS DEPARTMENT OF HUMAN
SERVICE’S MOTION TO EXTEND TIME TO FILE OBJECTION TO
DISCHARGEABILITY OF A DEBT UNDER § 523 to be served on the persons on the attached
service list by electronic notification through the CM/ECF system or by U.S. Mail, postage
prepaid.

                                                         /s/ Anna Stanley Kahriman



                                              1
  Case 19-34685       Doc 15     Filed 03/05/20 Entered 03/05/20 13:52:00             Desc Main
                                   Document     Page 2 of 3


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In re:                                                 )     Chapter 7
         ASHLEY KNOWLES,                               )
                                                       )     Case No: 19-34685
               Debtor.                                 )
                                                       )     Hon. Carol A. Doyle

  ILLINOIS DEPARTMENT OF HUMAN SERVICES’S MOTION TO EXTEND TIME
     TO FILE OBJECTION TO DISCHARGEABILITY OF A DEBT UNDER § 523

         NOW COMES the Illinois Department of Human Services (“DHS”), by its attorney

Kwame Raoul, Illinois Attorney General, and hereby moves the Court for an extension of time

within which to file a complaint to determine dischargeability under 11 U.S.C. § 523.

         1.    The Debtor filed a Petition for relief under Chapter 7 of the United States

Bankruptcy Code on December 9, 2019.

         2.    The Chapter 7 meeting of creditors was first scheduled for January 10, 2020.

         3.    Pursuant to Bankruptcy Rule 4007, a complaint objecting to the discharge of a debt

under § 523(c) must be filed within sixty days from the first date set for the meeting of creditors.

Here, that deadline is March 10, 2020.

         4.    Pursuant to Bankruptcy Rule 4007(c), the Court may for cause extend the time fixed

for filing a discharge complaint under § 523(c).

         5.    This request is being made prior to the expiration of the deadline to file a complaint

under § 523(c).

         6.    DHS is a creditor in this case by virtue of certain public aid overpayments made to

the Debtor.




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  Case 19-34685       Doc 15     Filed 03/05/20 Entered 03/05/20 13:52:00            Desc Main
                                   Document     Page 3 of 3


       7.      DHS and its counsel require additional time to review the transactions and

documents surrounding Debtor’s application for, and receipt of, public aid funds to determine

whether a complaint should be filed on the basis of fraud under § 523(a)(2).

       8.      DHS therefore requests an additional sixty (60) days from the date of this motion

to investigate and file its adversary complaint, and requests an extension of time through and

including May 9, 2020.

       WHEREFORE, the Illinois Department of Human Services requests an order granting an

extension of time of sixty (60) days, to and including May 9, 2020, within which to file a complaint

to determine dischargeability of a debt pursuant to 11 U.S.C. § 523(c).



                                                     Respectfully Submitted,

                                                     Illinois Department of Human Services
                                                     By:      Kwame Raoul
                                                              Illinois Attorney General

                                                     By: /s/ Anna Stanley Kahriman
                                                             Anna Stanley Kahriman
                                                             Assistant Attorneys General
                                                             Revenue Litigation Bureau
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                                                 2
